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                           11
                           12                                   UNITED STATES DISTRICT COURT
                           13                                SOUTHERN DISTRICT OF CALIFORNIA
                           14
                           15          JESSICA GARZA, an individual,                Case No. '24CV1702 WQHMMP
                           16                           Plaintiff,                  [Removed from San Diego Superior
                                                                                    Court Case No. 24CU006213C]
                           17                 v.
                                                                                    DEFENDANT FRONTIER
                           18          FRONTIER AIRLINES, INC., an                  AIRLINES, INC.’S NOTICE TO
                                       unknown business entity; ALEXANDER           FEDERAL COURT OF REMOVAL
                           19          KENT CLARK, an individual; and DOES          OF CIVIL ACTION
                                       1 through 25, inclusive,
                           20                                                       [28 U.S.C. §§ 1332, 1441 & 1446]
                                                        Defendants.
                           21                                                       Trial Date:      Not Yet Set
                                                                                    Complaint Filed: August 13, 2024
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                               1       TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF JESSICA
                               2       GARZA AND HER ATTORNEYS OF RECORD:
                               3               PLEASE TAKE NOTICE that Defendant FRONTIER AIRLINES, INC.
                               4       (“Defendant”) hereby removes the above-entitled action from the Superior Court of the
                               5       State of California, County of San Diego, to the United States District Court for the
                               6       Southern District of California, pursuant to 28 U.S.C. §§ 1441 and 1446.
                               7               This Notice is based upon the original jurisdiction of the United States District
                               8       Court over the parties under 28 U.S.C. § 1332 based upon complete diversity of
                               9       citizenship.
                            10                 Defendants make these allegations in support of removal:
                            11         I.      PLEADINGS, PROCESS, AND ORDERS
                            12                 1.     On September 13, 2024, Plaintiff JESSICA GARZA (“Plaintiff”) filed a
                            13         Complaint against Defendants FRONTIER AIRLINES, INC. (“Frontier”) and
                            14         ALEXANDER KENT CLARK (“Clark”) (collectively “Defendants”) in the California
                            15         Superior Court for the County of San Diego entitled JESSICA GARZA, an individual,
                            16         v. FRONTIER AIRLINES, INC., et al., Case No. 24CU006213C (the “State Court
                            17         Action”). (Declaration of Kara Cole in Support of Notice of Removal to Federal Court
                            18         (“Cole Decl.”), ¶ 2, Ex. A.)
                            19                 2.     On August 23, 2024, Frontier was personally served with the Summons
                            20         and Complaint, and supporting documents. (Cole Decl., ¶ 3, Exs. A-B.)
                            21                 3.     Clark has not been served with the Summons and Complaint. (Cole Decl.,
                            22         ¶ 4.)
                            23                 4.     As required by 28 U.S.C. § 1446(a), all process, pleadings, and orders
                            24         served on Defendants in the State Court Action are attached to the Declaration of Kara
                            25         Cole as Exhibits A through C. (Cole Decl., ¶¶ 2-3, 5-6, Exs. A-C.)
                            26         II.     REMOVAL IS TIMELY.
                            27                 5.     This Notice of Removal is timely. Under 28 U.S.C. section 1446(b),
                            28         removal may be filed within 30 days of the date of service of process on Frontier. 28
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                               1       U.S.C. § 1446(b); Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344,
                               2       354 (1999) (the thirty-day removal period runs from the service of the summons and
                               3       complaint).
                               4              6.     Plaintiff served the Summons and Complaint on Frontier’s agent for
                               5       service of process, on August 23, 2024, and Clark has not been served with process.
                               6       (Cole Decl., ¶¶ 3-4.) The 30-day deadline to file a Notice of Removal in this case
                               7       therefore falls on September 23, 2024. Fed. R. Civ. P. 6.
                               8              7.     This Notice of Removal is timely filed under 28 U.S.C. § 1446(b), as it is
                               9       being filed within thirty days of service of the Complaint on Frontier and within one
                            10         year after commencement of this action. (See Cole Decl., ¶¶ 2-4.)
                            11         III.   VENUE.
                            12                8.     Plaintiff originally brought this action in the Superior Court of the State of
                            13         California, County of San Diego – Central District. Venue therefore properly lies in the
                            14         Southern District of California, pursuant to 28 U.S.C. §§ 84(c)(1), 1391, 1441(a), and
                            15         1446(a).
                            16         IV.    DIVERSITY JURISDICTION.
                            17                9.     This is a civil action over which this Court has original jurisdiction because
                            18         there is complete diversity of citizenship between Plaintiff and Defendants, and the
                            19         amount in controversy exceeds $75,000, exclusive of interest and costs. See 28 U.S.C.
                            20         §§ 1332, 1441, and 1446.
                            21                A.     Complete Diversity Exists Between the Parties.
                            22                       1.     Plaintiff Is A Citizen Of California.
                            23                10.    For diversity purposes, an individual is a citizen of the state in which he or
                            24         she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
                            25         1983); see also LeBlanc v. Cleveland, 248 F.3d 95, 100 (2d Cir. 2001) (citizenship
                            26         determined at time lawsuit is filed). Residency, as pleaded in a state court complaint,
                            27         can create a rebuttable presumption of domicile supporting diversity of citizenship. See
                            28         Lew v. Moss, 797 F.2d 747, 751 (9th Cir. 1986); State Farm Mut. Auto. Ins. Co. v. Dyer,
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                               1       19 F.3d 415, 519–20 (10th Cir. 1994) (allegation by party in a state court complaint of
                               2       residency “created a presumption of continuing residence in [state] and put the burden
                               3       of coming forward with contrary evidence on the party seeking to prove otherwise”);
                               4       Overholt v. Airista Flow, Inc., No. 17-CV-1337-MMA (AGS), 2018 WL 355231, at *4
                               5       (S.D. Cal. Jan. 10, 2018).
                               6              11.    Here, at the time Plaintiff commenced this action and, upon information
                               7       and belief, at the time of removal, Plaintiff resided in, was and is domiciled in the State
                               8       of California, County of San Diego. See Ex. A to Cole Decl., Pl. Compl., ¶ 1 (“Plaintiff,
                               9       JESSICA GARZA [] is a natural person who is, and at all relevant times was, a resident
                            10         of the United States and domiciliary of the State of California, County of San Diego.”).
                            11                       2.     Clark Is A Citizen of Arizona, and Not California.
                            12                12.    Although the citizenship of unserved parties may be disregarded for
                            13         removal purposes, the Complaint alleges that throughout the relevant time period, and
                            14         at the time Plaintiff commenced this action, Clark resided in, was and is domiciled in
                            15         Maricopa County, Arizona. See Ex. A to Cole Decl., Pl. Compl., ¶ 1 (“ALEXANDER
                            16         KENT CLARK [] is a natural person who is, and at all relevant times mentioned was, a
                            17         resident of the United States and a domiciliary of the State of Arizona, County of
                            18         Maricopa.”). Therefore, Clark is a citizen of Arizona (and not California).
                            19                       3.     Frontier Is A Citizen Of Colorado, and Not California.
                            20                13.    For diversity purposes, a corporation is a citizen of the state of its
                            21         incorporation and the state where it has its principal place of business. 28 U.S.C. §
                            22         1332(c)(1). The principal place of business means the place where the cardinal
                            23         activities take place, such as high-level planning, directing, and coordinating corporate
                            24         strategy and daily activities. Hertz Corp. v. Friend, 559 U.S. 77 (2010).
                            25                14.    Frontier is incorporated under the laws of the State of Colorado and has its
                            26         principal place of business in Denver, Colorado. (Declaration of Marcia Attea (“Attea
                            27         Decl.”), ¶¶ 2-3.) Frontier’s headquarters is located in Denver, Colorado, its executive
                            28         leadership team works primarily in Denver, Colorado, and that is the primary location
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                               1       from where high-level operational strategic decisions are made. Id. Frontier’s primary
                               2       nerve center is in Denver, Colorado. See id. Accordingly, Frontier is a citizen of
                               3       Colorado (and not California) for purposes of diversity jurisdiction. 28 U.S.C. § 1332;
                               4       Hertz Corp., 559 U.S. at 92–93.
                               5              15.    For purposes of removal, the citizenship of defendants sued under fictitious
                               6       names should be disregarded. 28 U.S.C. § 1441(a).
                               7              16.    Defendants Does 1 through 25 are fictitious. The Complaint does not state
                               8       the identity or status of these fictitious defendants, nor does it state any specific
                               9       allegation of wrongdoing against any fictitious defendants. Pursuant to § 1441(a), the
                            10         citizenship of these fictitious defendants cannot destroy the diversity of citizenship
                            11         between the parties and should be disregarded. Newcombe v. Adolf Coors Co., 157 F.3d
                            12         686, 690 (9th Cir. 1998).
                            13                       4.     Complete Diversity Is Satisfied.
                            14                17.    Because Plaintiff is a citizen of the State of California whereas Defendants
                            15         are not citizens of California, but rather, Clark is a citizen of Arizona and Frontier is a
                            16         citizen of Colorado, complete diversity exists (Attea Decl., ¶¶ 2-3).
                            17                B.     The Amount in Controversy Exceeds $75,000.
                            18                18.    Removing defendants only need to establish by a preponderance of the
                            19         evidence that the plaintiff’s claimed damages exceed the jurisdictional minimum of
                            20         $75,000. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 403–04 (9th Cir. 1996).
                            21                19.    Where removal is based on diversity of citizenship and the initial pleading
                            22         seeks a money judgment, but does not demand a specific sum, “the notice of removal
                            23         may assert the amount in controversy.” 28 U.S.C. § 1446(c)(2). A removing defendant
                            24         “need include only a plausible allegation that the amount in controversy exceeds the
                            25         jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S.
                            26         81, 89 (2014).
                            27                20.    For purposes of determining whether the amount in controversy has been
                            28         satisfied, the Court must presume the plaintiff will prevail on their claims. See Kenneth
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                               1       Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal.
                               2       2002) (citing Burns v. Windsor Ins. Co., 31 F.3d 1092, 1096 (11th Cir. 1994) (stating
                               3       the amount in controversy analysis presumes that “plaintiff prevails on liability.”)). The
                               4       ultimate inquiry is the amount that is put “in controversy” by the allegations of a
                               5       plaintiff’s complaint, not what a defendant might actually owe. Rippee v. Boston Mkt.
                               6       Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005) (citing Scherer v. Equitable Life
                               7       Assurance Soc’y of the United States, 347 F.3d 394, 397-99 (2d Cir. 2003) (recognizing
                               8       the ultimate or provable amount of damages is not what is considered in the removal
                               9       analysis; rather, it is the amount put in controversy by the complaint)). “The amount in
                            10         controversy for jurisdictional purposes is determined by the amount of damages [] that
                            11         is subject of the action.” “In determining the amount in controversy, a court may
                            12         consider compensatory and punitive damages, as well as attorneys’ fees, but may not
                            13         consider interest and costs of suit.” Meisel v. Allstate Indem. Co., 357 F. Supp. 2d 1222,
                            14         1225 (E.D. Cal. 2005).
                            15                21.    Although Frontier adamantly denies Plaintiff’s claims have merit or that
                            16         she is entitled to any relief whatsoever, were she to prevail on the claims asserted in the
                            17         Complaint she would be entitled and is anticipated to seek recovery of an amount far
                            18         exceeding the jurisdictional threshold of $75,000, exclusive of interest and costs.
                            19         Specifically, were Plaintiff to prevail on every claim asserted, the amount in controversy
                            20         constitutes not less than the following:
                            21                      (1) Approximately $100,117.333 (16 months) in back wages, measured
                            22                          from the effective date of Plaintiff’s separation (May 16, 2024) through
                            23                          an anticipated trial date no sooner than September 2025;
                            24                      (2) Approximately $75,088 or a conservative twelve months’ continued
                            25                          wage loss post-trial that Plaintiff is anticipated to seek for future
                            26                          claimed wage loss;
                            27                      (3) Emotional distress damages;
                            28                      (4) Punitive damages; and
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                               1                    (5) Reasonable attorneys’ fees and costs, available by statute.1
                               2                     1.     Special Damages—Past Lost Earnings
                               3              22.    Plaintiff seeks to recover special damages, including back pay, front pay
                               4       and other monetary relief. See Ex. A to Cole Decl., Pl. Compl., Prayer at ¶¶ 1-2, 4.
                               5       More specifically, Plaintiff’s Complaint seeks to recover special damages resulting
                               6       from Defendants’ alleged conduct characterized as her sustaining and continuing to
                               7       sustain “substantial losses in earnings, employment benefits, [and] employment
                               8       opportunities[.]” Id. at ¶¶ 53, 61, 71, 78.
                               9              23.    If Plaintiff prevails on her statutory claims, she may recover the amount
                            10         she would have earned up through the date of trial, including any benefits or pay
                            11         increases. See Judicial Council of California, Civil Jury Instruction (“CACI”) 3903P
                            12         (2020); Wise v. S. Pac. Co., 1 Cal. 3d 600, 607 (1970).
                            13                24.    During her employment, Plaintiff worked full time, earning $36.10 per
                            14         hour. (Attea Decl., ¶ 5.) Thus, between the end of Plaintiff’s employment effective
                            15         May 16, 2024, and an anticipated trial date in this matter no sooner than mid-September
                            16         2025, Plaintiff’s alleged past lost wages through trial are estimated at not less than
                            17         $100,117.33 ([$36.10/hr * 40 hours/week * 52 weeks/yr ÷ 12 months] * 16 months).
                            18                       2.     Special Damages—Future Lost Earnings/Earning Capacity.
                            19                25.    In addition to past wage loss, if Plaintiff prevails on her statutory claims,
                            20         she may recover “the present cash value of any future wages and benefits that she would
                            21         have earned for the length of time the employment was reasonably certain to continue.”
                            22         See CACI 3903P. In determining the amount of time the employment was reasonably
                            23         certain to continue, the court considers the plaintiff’s age, work performance, intent,
                            24         defendant’s prospects for continued operations, and any other factor that bears on how
                            25         long the plaintiff would have continued to work for defendant. Id.
                            26         ///
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                            28          In light of the amount in controversy already alleged, Frontier does not numerically
                                       derive punitive damages or attorneys’ fees and costs for the purposes of this removal.
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                               1              26.    Previous awards of front wages in California have spanned several years.
                               2       See Smith v. Brown-Forma Distillers Corp., 196 Cal. App. 3d 503, 518 (1989) (front
                               3       pay until mandatory retirement age reached); Rabaga-Alvarez v. Dart Industries, Inc.,
                               4       55 Cal. App. 3d 91, 97-99 (1976) (four years); Drzewiecki v. H&R Block, Inc., 24 Cal.
                               5       App. 3d 695, 705 (1972) (ten years). The guiding principle is the time the Plaintiff was
                               6       reasonably certain to have continued employment with Defendant. CACI 3903P. Front
                               7       pay is a temporary and transitional remedy measured by the employee’s protected
                               8       earnings until they are likely to be reemployed. Contract Damages, Cal. Prac. Guide
                               9       Employment Litigation Ch. 17-B. “The U.S. Supreme Court has cited with apparent
                            10         approval lower court cases upholding front pay awards ‘equal to the estimated present
                            11         value of lost earnings that are reasonably likely to occur between the date of the
                            12         judgment and the time when the employee can assume his new position.’” Id. (quoting
                            13         Pollard v. E.I. du Pont de Nours & Co., 532 U.S. 843, 850 (2001)).
                            14                27.    Here, Plaintiff was a full-time employee.          Conservatively estimating
                            15         Plaintiff would only have remained employed for at least one-year post-trial, the front
                            16         pay calculation adds an additional $75,088 ($36.10/hr * 40 hours/week * 52 weeks/yr)
                            17         to the amount in controversy.
                            18                       3.     Emotional Distress Damages
                            19                28.    Plaintiff also seeks to recover for “emotional distress.” See Ex. A to Cole
                            20         Decl., Pl. Compl., Prayer at ¶ 3. More specifically, Plaintiff’s Complaint seeks to
                            21         recover emotional distress damages resulting from Defendants’ alleged conduct
                            22         characterized as her suffering and continuing to suffer “humiliation, emotional distress,
                            23         loss of reputation, and mental and physical pain and anguish[.]” Id. at ¶¶ 54, 62, 72, 79,
                            24         87. To wit, Plaintiff alleges to have suffered such a degree of emotional distress
                            25         purportedly to sustain a claim for intentional infliction of emotional distress, requiring
                            26         a showing of extreme emotional distress. Id. at ¶¶ 99-102.
                            27                29.    Emotional distress damages are a part of the amount in controversy
                            28         calculation. Cain v. Hartford Life & Acc. Ins. Co., 890 F. Supp. 2d 1246, 1250 (C.D.
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                               1       Cal. 2012); see also Velez v. Roche, 335 F. Supp. 2d 1022, 1038-40 (N.D. Cal. 2004)
                               2       (surveying discrimination and harassment cases awarding emotional distress damages
                               3       and concluding that “substantial jury awards of hundreds of thousands of dollars for
                               4       non-economic damages have been upheld where there is evidence . . . the plaintiff
                               5       suffered heightened mental anguish”). An award of damages for emotional distress can
                               6       be anticipated to reasonably exceed the jurisdictional minimum. Simmons v. PCR
                               7       Tech., 209 F. Supp. 2d 1029, 1034 (C.D. Cal. 2002) (citing case in which an award for
                               8       pain and suffering in an employment discrimination case totaled $3.5 million and
                               9       recognizing that “emotional distress damages in a successful employment
                            10         discrimination case may be substantial”).
                            11                30.    In Kroske, the Ninth Circuit found the district court’s conclusion that the
                            12         plaintiff’s “emotional distress damages would add at least an additional $25,000 to her
                            13         claim” was not clearly erroneous, where she had only $55,000 in lost wages, thus
                            14         satisfying the amount in controversy requirement “even without including a potential
                            15         award of attorney’s fees.” 432 F.3d at 980. Based on Kroske, and assuming prompt
                            16         mitigation of wage loss damages by Plaintiff, an additional $25,000 amount in
                            17         controversy figure would be a minimal assessment here in light of Plaintiff’s
                            18         allegations. But as the amount in controversy is already well above $75,000, Frontier
                            19         does not further derive a more precise figure for emotional distress damages for the
                            20         purposes of this removal. If the amount in controversy is challenged, Frontier will
                            21         provide a more precise figure.
                            22                       4. Punitive Damages
                            23                31.    Plaintiff also seeks punitive damages. See Ex. A to Cole Decl., Pl. Compl.,
                            24         Prayer at ¶ 5. More specifically, Plaintiff’s Complaint seeks to recover punitive
                            25         damages “sufficient to punish and deter future similar [alleged] reprehensible
                            26         conduct[.]” Id. at ¶¶ 55, 63, 73, 93, 98.
                            27                32.    California provides for punitive damages “where it is proven by clear and
                            28         convincing evidence that the defendant has been guilty of oppression, fraud, or malice.”
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                               1       Cal. Civ. Code § 3294(a). Punitive damages may be included in calculating the amount
                               2       in controversy. See Davenport v. Mut. Benefit Health & Accident Ass’n, 325 F.2d 785,
                               3       787 (9th Cir. 1963).       A single-digit ratio (i.e., no more than nine-to-one) of
                               4       compensatory to punitive damages is more likely to comport with due process. State
                               5       Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 425 (2003).
                               6              33.    Here, Plaintiff contends she suffered from alleged severe and pervasive
                               7       sexual harassment during her employment, about which she purportedly complained
                               8       before being retaliated against and eventually terminated. See Ex. A to Cole Decl., Pl.
                               9       Compl., ¶ 19-42. Plaintiff alleges Frontier engaged in “blatant and vehement
                            10         discrimination, retaliation and harassment” intended to cause her damage. Id. at ¶ 43.
                            11                34.    Jury verdicts in similar California cases involving punitive damages
                            12         awards show a potential amount in controversy well above $75,000. For instance, in
                            13         Bralock v. Am. Univ. of Health Sciences Inc., et al., Los Angeles Super. Court Case
                            14         No., BC614955 (Sept. 30, 2021) 2021 Jury Verdicts LEXIS 8239, plaintiffs alleged
                            15         retaliation after reporting sexual harassment and participating in an investigation of
                            16         harassment and the promotion of an overly sexual atmosphere in the workplace.
                            17         Returning a finding on the retaliation and wrongful termination claims, the jury returned
                            18         a verdict for plaintiffs and awarded each of them $500,000 in punitive damages.
                            19                35.    Although Frontier disputes any alleged harassment or retaliation took place
                            20         here or that Plaintiff may recover any amount in punitive damages, for purposes of
                            21         establishing an amount in controversy for this removal, the foregoing illustrates a
                            22         punitive damages award alone could exceed $500,000, or more.
                            23                       5.     Attorneys’ Fees
                            24                36.    Plaintiff also seeks to recover attorneys’ fees. See Ex. A to Cole Decl., Pl.
                            25         Compl., ¶¶ 56, 64, 74, 80 and Prayer at ¶ 6. Attorneys’ fees potentially recoverable by
                            26         statute also are included in determining the amount in controversy. Galt G/S v. JSS
                            27         Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998).
                            28                37.    Plaintiff’s Complaint alleges violations of California’s anti-retaliation
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                               1       statutes and the FEHA, which authorizes an award of reasonable attorneys’ fees to a
                               2       prevailing plaintiff. Cal. Gov. Code §12965(b). Such fees cannot yet be calculated
                               3       precisely, but in some single-plaintiff cases fees have exceeded compensatory damage
                               4       awards. Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1035 (N.D. Cal. 2002) (noting
                               5       that “attorneys’ fees in individual discrimination cases often exceed the damages”).
                               6              38.    An estimate of attorney’s fees for this purpose includes all reasonably
                               7       anticipated fees over the life of the case. Id. Estimated hours expended through trial
                               8       for employment cases in the Southern District of California may range from 100 to
                               9       upwards of 300 hours. Thus, fees in an employment case may reasonably be expected
                            10         to equal at least $30,000 (100 hours x $300 per hour), if not more. See Sasso v. Noble
                            11         Utah Long Beach, LLC, 2015 WL 898468, at *6 (C.D. Cal. Mar. 3, 2015) (Birotte, J.)
                            12         (citations omitted). Upon information and belief, Frontier anticipate opposing counsel
                            13         will request substantially higher fees through trial, if Plaintiff prevails. If the amount
                            14         in controversy is challenged, Frontier will provide more specificity.
                            15                39.    Based on the foregoing, although Frontier denies Plaintiff has been
                            16         damaged at all in connection with the allegations in the Complaint, Frontier plausibly
                            17         alleges an amount in controversy over $75,000 and a preponderance of the evidence
                            18         demonstrates the amount in controversy exceeds the $75,000 jurisdictional requirement,
                            19         exclusive of interest and costs, in this case.
                            20         V.     NOTICE TO PLAINTIFF AND SUPERIOR COURT.
                            21                40.    Contemporaneously with the filing of this Notice of Removal in the United
                            22         States District Court for the Central District of California, as required by 28 U.S.C.
                            23         § 1446(d), Frontier will promptly provide written notice of this Notice of Removal to
                            24         Josh D. Gruenberg, Pamela Vallero, and Samuel Rothstein of Gruenberg Law, counsel
                            25         for Plaintiff, and will also promptly file a copy of this Notice of Removal with the Clerk
                            26         of the Superior Court of the State of California, County of San Diego.
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                               1       VI.      CONCLUSION
                               2                WHEREFORE, having fulfilled all statutory requirements, Frontier hereby
                               3       remove this action from the Superior Court of the State of California, County of San
                               4       Diego, to this Court, and requests this Court assume full jurisdiction over this matter as
                               5       provided by law.
                               6
                               7       Dated: September 23, 2024
                                                                                            /s/ Kara A. Cole
                               8                                                            Kara Adelle Ritter Cole
                               9                                                            LITTLER MENDELSON, P.C.
                                                                                            Attorney for Defendant
                            10                                                              FRONTIER AIRLINES, INC.
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